                                EXHIBIT
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 THE NAUGHTYS LLC

        Plaintiff,

 v.                                                     Civil Action No. 4:21-CV-00492-O
 DOES 1-580

        Defendants


           DECLARATION OF CHARLES A. WALLACE IN SUPPORT OF
         PLAINTIFF’S REPLY IN SUPPORT OF PRELIMINARY INJUNCTION

       I, Charles A. Wallace, pursuant to 28 U.S.C. § 1746, declare as follows:

1.     “I am over 18 years of age, of sound mind, and otherwise competent to make this
Declaration. The evidence set out in this Declaration is based on my personal knowledge.

2.      I am an attorney at the law firm Creedon PLLC, located at 5 Cowboys Way, Suite 300,
Frisco, Texas 75034, and I am licensed to practice in the State of Texas.

3.      Plaintiff The Naughtys LLC (“The Naughtys”) retained Creedon PLLC to represent it in
the above-styled lawsuit. As counsel of record for The Naughtys, I have personal knowledge of
this lawsuit, the filings in this proceeding, and the facts related thereto.

4.      On May 24, 2021, I created the screenshots in Exhibit 1, which show a selection of the
pages Responding Defendants mention in Exhibit B to their Response to Plaintiff’s Motion for
Preliminary Injunction. Dkt. 65-2. The screenshots in Exhibit 1 show that the pages mentioned by
the Responding Defendants were, in fact, created or published at least as early as 2018 (not
between January 1, 2000 – September 23, 2008 as Responding Defendants suggest). I procured
this information by accessing the relevant pages, then choosing to view the pages’ source code.

5.     The email thread in Exhibit 2 is a true and correct account of an email interaction between
myself and an individual who identified himself as a Chinese attorney named “Jesun,” who
represents several of the defendants in this lawsuit. The redacted portion in Exhibit 2 only omits
portions of the email thread where Mr. Jesun listed his clients’ settlement offers.

I declare under penalty of perjury that the foregoing is true and correct. Executed on May 24, 2021.


                                                     ________________________
                                                     Charles A. Wallace
                                                     Creedon PLLC


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